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   1
   2                              UNITED STATES DISTRICT COURT
   3                           SOUTHERN DISTRICT OF CALIFORNIA
   4
   5   LUCENT TECHNOLOGIES INC.,                   |
                                                   |
   6         Plaintiff and Counterclaim-defendant, |
       v.                                          |
   7                                               |
       GATEWAY, INC. and GATEWAY                   |
   8   COUNTRY STORES LLC, GATEWAY                 |
       COMPANIES, INC., GATEWAY                    |
   9   MANUFACTURING LLC and                       |
       COWABUNGA ENTERPRISES, INC.,                |
  10                                               |   Civil No: 02CV2060-B(CAB)
             Defendants and Counter-claimants,     |   consolidated with
  11                                               |   Civil No: 03CV0699-B (CAB) and
       and                                         |   Civil No: 03CV1108-B (CAB)
  12                                               |
       MICROSOFT CORPORATION,                      |
  13                                               |   ORDER ON MICROSOFT’S MOTIONS
             Intervenor and Counter-claimant,      |   FOR JUDGMENT AS A MATTER OF
  14                                               |   LAW AND NEW TRIAL AND
       _____________________________________ |         LUCENT’S MOTION TO ALTER OR
  15                                               |   AMEND THE JUDGMENT
       MICROSOFT CORPORATION,                      |   REGARDING U.S. PATENT NOS.
  16                                               |   5,341,457 AND RE 39,080
             Plaintiff and Counterclaim-defendant, |
  17                                               |
       v.                                          |
  18                                               |
       LUCENT TECHNOLOGIES INC.,                   |
  19                                               |
             Defendant and Counter-claimant        |
  20                                               |
       _____________________________________ |
  21                                               |
       LUCENT TECHNOLOGIES INC.,                   |
  22                                               |
             Plaintiff,                            |
  23                                               |
       v.                                          |
  24                                               |
       DELL, INC.,                                 |
  25                                               |
             Defendant.                            |
  26                                               |
       _____________________________________ |
  27
  28                                                                            02CV2060-B (CAB)
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   1   I.     INTRODUCTION
   2          On January 29, 2007, a jury trial commenced in case no. 02cv2060 on issues
   3   pertaining to audio coding patents U.S. Patent Nos. 5,341,457 and RE 39,080 (“the ‘457
   4   patent” and “the ‘080 patent,” respectively). On February 22, 2007, the jury returned a
   5   verdict in favor of Plaintiff Lucent Technologies, Inc. (“Lucent”) finding the patents valid
   6   and infringed by Defendant Microsoft Corporation (“Microsoft”).
   7          Following the trial, the Court also ruled on the non-jury issues of standing and
   8   Microsoft’s license defense. These rulings were based on the jury’s finding that the work
   9   incorporated into U.S. Patent No. 5,627,938 (“the ‘938 patent”), the patent on which the
  10   reissue ‘080 patent is based, was not performed on or after April 1989. The Court held that
  11   the ‘080 reissue patent is not co-owned by Fraunhofer; Lucent is sole owner of the ‘080
  12   patent and has standing to sue for infringement. The Court also ruled that the Fraunhofer-
  13   Microsoft Agreement did not confer a license to Microsoft to practice the‘080 patent.
  14          Microsoft now moves the Court for judgment as a matter of law under Fed. R. Civ.
  15   P. 50(b) on the following issues: (1) no infringement of the ‘457 patent; (2) no infringement
  16   the ‘080 patent; (3) the ‘080 patent is not “existing work” under the AT&T-Fraunhofer
  17   Agreement; (4) invalidity; and (5) damages. In addition, Microsoft moves the Court to
  18   amend its judgment under Fed. R. Civ. P. 52(b) regarding Lucent’s standing and
  19   Microsoft’s license defense. Microsoft also moves for a new trial on related issues
  20   including: (1) infringement; (2) the categorization of the ‘080 patent as “Existing
  21   Work”;(3) invalidity; and (4) damages.
  22   II.    STANDARD OF LAW
  23          A.     Judgment as a Matter of Law
  24          A motion for judgment as a matter of law must be denied, and a jury verdict upheld,
  25   if the judgment is supported by substantial evidence. Johnson v. Paradise Valley Unified
  26   School District, 251 F.3d 1222, 1227 (9th Cir. 2001). Substantial evidence is evidence
  27   adequate to support the jury's conclusion, even if it is possible to draw a contrary
  28                                                  2
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   1   conclusion from the same evidence.” Id. The Court must review the record as a whole but
   2   disregard all evidence favorable to the moving party that the jury is not required to believe.
   3   Id. All reasonable inferences must be drawn in the light most favorable to the nonmoving
   4   party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250-51 (1986).
   5          B.     New Trial
   6          The power of the court to grant a new trial under Fed. R Civ. P. 59(a) is “confided
   7   almost entirely to the exercise of discretion on the part of the trial court.” Murphy v. City of
   8   Long Beach, 914 F.2d 183, 186 (9th Cir. 1990) (quoting Allied Chem. Corp. v. Daiflon,
   9   Inc., 449 U.S. 33, 36 (1980)). Unlike a motion for judgment as a matter of law, “[t]he
  10   judge can weigh the evidence and assess the credibility of witnesses, and need not view the
  11   evidence from the perspective most favorable to the prevailing party.” Landes Const. Co.,
  12   Inc. v. Royal Bank of Canada, 833 F.2d 1365, 1371 (9th Cir. 1987); Molski v. M.J. Cable,
  13   Inc., 481 F.3d 724, 729 (9th Cir. 2007) (“the district court has the duty to weigh the
  14   evidence as the court”) (internal quotations omitted). The district court should “set aside
  15   the verdict of the jury, even though supported by substantial evidence, where, in the court's
  16   conscientious opinion, the verdict is contrary to the clear weight of the evidence.” Molski,
  17   481 F.3d at 729.; see also Silver Sage Partners, Ltd. v. City of Desert Hot Springs, 251 F.3d
  18   814, 819 (9th Cir. 2001) (“a trial court may grant a new trial if the verdict is contrary to the
  19   clear weight of the evidence . . . or to prevent, in the sound discretion of the trial court, a
  20   miscarriage of justice”). In general, a court should grant a new trial only when it “is left
  21   with the definite and firm conviction that a mistake has been committed.” Landes Constr.,
  22   833 F.2d at 1372. “[A] district court may not grant a new trial simply because it would have
  23   arrived at a different verdict.” Silver Sage Partners, 251 F.3d at 819.
  24   III.   OWNERSHIP AND LICENSE OF THE ‘080 PATENT
  25          Among the affirmative defenses raised by Microsoft, two related to the ownership of
  26   the ‘080 patent. Microsoft asserted that the ‘080 patent was co-owned by Fraunhofer
  27   Gesellschaft (“Fraunhofer”), a German research company. As such, Microsoft contended
  28                                                   3
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   1   that Lucent lacked standing to bring suit against Microsoft for infringement of the ‘080
   2   patent. Microsoft also asserted the defense of license, contending that it had a license from
   3   Fraunhofer to practice the ‘080 patent. These affirmative defenses were addressed in two
   4   parts at trial. The jury heard evidence on the factual question of whether any work
   5   performed during the period of collaboration between AT&T and Fraunhofer had been
   6   incorporated into any of the claims of U.S. Patent No. 5,627,938 (“the ‘938 patent”) which
   7   then was reissued as the ‘080 patent. The Special Verdict Form included a “Special
   8   Question” on this issue: “Has Microsoft proven by a preponderance of the evidence that
   9   work was performed on or after April 1989 which was incorporated into any of the claims
  10   of the ‘938 patent? Please answer yes or no.” The jury answered “no.” Based then on the
  11   jury’s factual finding, the Court ruled that under the 1989 research agreement between
  12   AT&T and Fraunhofer (“the JDA”), Fraunhofer was not a co-owner of the ‘938 patent or
  13   the ‘080 reissue patent. Therefore, Lucent had standing to sue and the defense of license
  14   was not available to Microsoft. Microsoft now challenges the jury’s findings and the
  15   Court’s subsequent rulings on a number of grounds.
  16          A.     Exclusion of Deposition Testimony from Mr. Restaino and Mr. Devilliers
  17          At trial on February 12, Microsoft attempted to play two video-taped depositions
  18   before the jury to which Lucent objected. (Trial Tr. vol. X, 17:6-24:7, Feb. 12, 2007.) The
  19   first was the deposition of Mr. Restaino from AT&T and the other was the deposition of
  20   Mr. DeVilliers from Creative Labs. Mr. Restaino was to testify about AT&T’s view of the
  21   rights under the JDA. (Id. at 18:4-18.) The Court ruled that AT&T’s opinions of Lucent’s
  22   duties under the agreement were not relevant. (Id. at 19:16-24.) Mr. DeVilliers was to
  23   testify about Lucent ‘s reticence in its negotiations with Creative Labs to discuss Lucent’s
  24   rights under the JDA. (Id. at 20: 8-16, 21:18-25.) The Court ruled that this latter testimony
  25   was collateral, lacking relevance and confusing to the jury. (Id. at 23:2-6.)
  26          Microsoft now argues that the exclusion of these depositions was in error because
  27   the jury was entitled to hear how AT&T and Lucent viewed the JDA. The Court, however,
  28                                                 4
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   1   finds no error or prejudice in the exclusions. First, Microsoft incorrectly asserts that the
   2   Court’s reason for the exclusion of the testimony was because it was deemed “not
   3   credible” and that credibility should have been a question for the jury. This is belied by the
   4   record; the Court excluded the testimony as not relevant and/or prejudicial. Microsoft
   5   confuses “credibility” with “admissibility.” Admissibility is a question for the court, not
   6   the jury. Fed. R. Evid. 104. Additionally, Microsoft has not pointed to any jury issue on
   7   which this evidence would have been relevant. The interpretation of the JDA was a
   8   question left to the Court, not the jury. Therefore, the Court DENIES Microsoft’s motion
   9   for a new trial on this ground.
  10          B.     New Work Versus Existing Technology Under the JDA
  11          The JDA between Fraunhofer and AT&T covered collaborative work during the
  12   period of the stay of Karlheinz Brandenburg at AT&T. (DX 6489 at 2.) This period began
  13   in April 1989 and ended in June 1990. (Trial Tr. vol. VI, 192:15-17, Feb. 5, 2007.) All
  14   work done on digital audio coding during this period was classified as “New Work” and
  15   would be jointly owned by AT&T and Fraunhofer. (DX 6489 at 2, 3 § 1.) In 1991, the
  16   period covering New Work was extended by AT&T and Fraunhofer to cover work that
  17   continued after the expiration of the JDA and the departure of Brandenburg. (“the
  18   extension letter,” DX5616.) The parties agreed to extend the period indefinitely, until one
  19   of the parties gave notice to terminate the arrangement. (Id.) No evidence was presented
  20   that the parties ever terminated the agreement. Hence, the combined effect of the JDA and
  21   the extension letter defines the period of New Work as beginning in April 1989 at the
  22   arrival of Brandenburg and continuing indefinitely thereafter.
  23          In the instant trial, Lucent and Microsoft agreed to present the factual question of
  24   New Work to the jury by asking whether or not work performed on or after April 1989 was
  25   incorporated into any of the claims of the ‘938 patent. (Special Verdict Form; Tr. Chambers
  26   Feb. 7, 2007, 173:12-24; Trial Tr. vol. XII, 90:7-22, Feb. 14, 2007.) Microsoft’s prima
  27   facie case relied on the description of the work in the ‘938 patent specification. The ‘938
  28                                                  5
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   1   patent was applied for on September 22, 1994 and claimed priority as a continuation of
   2   application serial no. 844,811 to March 2, 1992. This dated the work described and
   3   claimed therein to 1992. Lucent argued that the claims of the ‘938 patent were described in
   4   the ‘457 patent specification filed in 1988; this placed the date of this work before the April
   5   1989 dividing line in the JDA.1 Lucent also presented testimony of Mr. Johnston, the
   6   inventor of the ‘938 patent, on work he had performed on or around 1988.
   7          Microsoft now contends that there was insufficient evidence on which the jury could
   8   have found that the work encompassed in claims 2 and 4 of the ‘938 patent was not
   9   performed on or after April 1989.
  10                  1.     Claim 2
  11          Claim 2 is a dependent claim which includes the method of claim 1 and adds the
  12   limitation “wherein the set of frequency coefficients are MDCT coefficients.” Microsoft
  13   contends that MDCT (modified discrete cosine transform) coefficients are nowhere
  14   mentioned in the ‘457 patent and thus this patent and its date of filing cannot provide
  15   evidence that the work embodied in claim 2 was performed before April 1989.
  16          Regarding the disclosure of the claimed method using an MDCT, Lucent argues that
  17   sufficient evidence was presented on this point in the form of testimony of witnesses and
  18   statements in the ‘938 patent specification showing that MDCT coefficients were well
  19   known in the art. It contends that because the ‘457 patent describes time to frequency
  20   transforms and an MDCT is a type of such transform, one of ordinary skill in the art would
  21   understand the ‘457 to include the method set forth in claim 2 of the ‘938 patent.
  22          This contention is problematic. First, as a matter of law, claim 2 cannot claim
  23
              1
                The ‘080 patent claims priority as a continuation-in-part (CIP) to an application filed in
  24   February 1992 which was a continuation of an application filed in December 1988. This latter 1988
       application issued as the ‘457 patent. Claims in a CIP application may have different priority dates,
  25   but only those supported by the parent application are entitled to the earlier filing date. Waldemar
       Link v. Osteonics Corp., 32 F.3d 556, 558-59 (Fed. Cir. 1994) (noting that the priority date for each
  26   claim is not memorialized by the patent office; when a dispute arises the Court must determine the
       proper date for each claim at issue).
  27
  28                                                    6
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   1   priority to the ‘457 patent based on the evidence presented at trial. The ‘457 specification
   2   does not mention MDCTs. Dr. Jayant’s testimony stated only that MDCTs were known at
   3   the time of the ‘457 patent. (Trial Tr. vol. XI, 101:4-11, Feb. 13, 2007.) He also testified
   4   that one of ordinary skill in the art would have recognized that the claimed methods could
   5   have been implemented with an MDCT and would have been able to do so without undue
   6   specification. (Id. at 101:12-24.) This testimony does not demonstrate that the method of
   7   claim 2 was sufficiently described in the ‘457 patent. “A description which renders obvious
   8   the invention for which an earlier filing date is sought is not sufficient.” Lockwood v.
   9   American Airlines, Inc., 107 F.3d 1565, 1572 (Fed. Cir. 1997). A demonstration of
  10   obviousness is not sufficient to show the inventor “possessed” the invention. Id.
  11            Second, simply because one of skill in the art may have been able to implement
  12   claim 2 from the ‘457 patent specification and the knowledge in the art as to MDCTs, does
  13   not lead to the conclusion that the inventor of the ‘938 patent, Johnston, performed such
  14   work as of the filing date of the ‘457 patent. On this topic, Johnston testified that he did
  15   not perform this work before the collaborative period of the AT&T-Fraunhofer agreement
  16   began:
  17            Q      Who taught you about an MDCT?
                A      Well, I hadn't heard of it until I saw Karlheinz's
  18            paper, and then I had sort of looked at it before Karlheinz
                came, but when Karlheinz came and sat down and explained it,
  19            that was when I really learned about it. It was the first
                time I actually got my hands on it practically.
  20            Q      In other words, in 1989?
                A      Yeah.
  21            Q      Okay. And did you have any understanding from Doctor
                Karlheinz -- Doctor Brandenburg at the time you did the work
  22            on the 457 patent?
                A      No. I hadn't heard of the MDCT at all. Apparently the
  23            publication was out, but I hadn't spotted it.
  24   (Trial Tr. vol. VI, 36:13-25, Feb 5, 2007.) Although Lucent argues that the jury could have
  25   disregarded this testimony, there was no other evidence of record that the work was
  26   performed prior to April 1989. The only other evidence of the work encompassed by claim
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  28                                                  7
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   1   2 was the ‘938 specification itself, with a date of 1992.2 Therefore, the jury’s finding that
   2   claim 2 was not performed on or after April 1989 is not supported by sufficient evidence;
   3   the Court therefore GRANTS judgment as a matter of law on this ground. Additionally,
   4   because the jury’s verdict was against the clear weight of the evidence, in the alternative,
   5   the Court GRANTS a new trial on this issue.
   6                  2.     Claim 4
   7          In the Markman hearing preceding trial, the Court construed the means for receiving
   8   and the means for converting as set forth in claim 4 to require the same corresponding
   9   structure:
  10          Structure: (as described in the [‘938] specification at Col. 23:59 - Col. 24:1)3, a
              digital signal processor (DSP), a DSP with software, VLSI hardware embodiments,
  11          or hybrid DSP/VLSI embodiments.
  12
       These corresponding structures (DSP and VLS1) do not appear in the ‘457 specification;
  13
       they appear for the first time in the ‘938 patent specification filed in 1992. At trial,
  14
       however, Lucent’s expert Dr. Jayant testified in a conclusory fashion that this
  15
       corresponding structure was disclosed in the ‘457 specification. (Trial Tr. vol. XI, 110:12-
  16
       18, Feb. 13, 2007.) He did not, however, indicate where these structures could be found in
  17
       the ‘457 specification. Instead, Jayant’s testimony took two paths - both insufficient as a
  18
       matter of law to demonstrate that the written description in the ‘457 patent could provide a
  19
       1988 priority date for claim 4.
  20
              First, Jayant testified that the two “means” could be found in Figure 7 of the ‘457
  21
       patent, labeled as boxes 72 and 76. He indicated that box 76 was where the bitstream came
  22
  23          2
                Lucent’s argument that the reference in Figure 2 of the ‘080 patent to MDCTs as prior art
       with a reference to a publication dated 1987 does not change this analysis. This reference does not
  24   indicate one way or the other whether Johnston performed or even conceived of his method using
       MDCTs before April 1989. The specification of the ‘080 patent is based on applications filed in 1992
  25   and 1994. At most, it suggests that on or around 1992 or 1994, Johnston knew of MDCTs and had
       considered their use in his claimed method.
  26
              3
                The reference to the ‘938 specification corresponds to Col. 24:18-24 in the ‘080 reissue
  27   specification.
  28                                                    8
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   1   into the decoder and was unpacked; box 72 transformed frequency information into a time
   2   wave form. (Id. at 109:5-15, 110:1-11.) He did not identify these boxes as “structures.”
   3   Figure 7 of the ‘457 patent identifies only function and does not describe any structures that
   4   carry out these functions. Moreover, even if boxes 72 and 76 could themselves arguably
   5   represent a structure, Lucent did not present any evidence through Jayant or any other
   6   witnesses to show that such structure was the same or equivalent to the corresponding
   7   structure for claim 4 as construed by the Court.
   8            Second, Jayant’s testimony that one of skill in the art would know that the
   9   DSP/VLS1 structures could be used for implementing the means for receiving and
  10   converting functions (id. at 110:19-111:6) also is insufficient. “[S]tructure supporting a
  11   means-plus-function claim under § 112, ¶ 6 must appear in the specification . . . [the]
  12   consideration of the understanding of one skilled in the art in no way relieves the patentee
  13   of adequately disclosing sufficient structure in the specification. Medical Instrumentation
  14   and Diagnostics Corp. v. Elekta AB, 344 F.3d 1205, 1212 (Fed. Cir. 2003); Biomedino,
  15   LLC v. Waters Technologies Corp., - - F.3d - -, 2007 WL 1732121, *5 (Fed. Cir. June 18,
  16   2007).
  17            Dr. Jayant’s legally unsupportable opinions cannot support the jury’s verdict. See
  18   Brooke Group Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 242 (1993)
  19   (“When an expert opinion is not supported by sufficient facts to validate it in the eyes of
  20   the law, or when indisputable record facts contradict or otherwise render the opinion
  21   unreasonable, it cannot support a jury's verdict.”); Tronzo v. Biomet, Inc.,156 F.3d 1154,
  22   1159 (Fed. Cir.1998) (expert testimony that was either contradicted by the patent
  23   specification itself and/or incorrect based on the applicable law was insufficient to support
  24   the jury’s verdict on written description and priority date).
  25            As with claim 2, the disclosure of the ‘938 patent establishes a prima facie case that
  26   the corresponding structure for claim 4 was first described therein and thus entitled to a
  27   date no earlier than 1992. Having excluded Dr. Jayant’s testimony on claim 4, there is no
  28                                                   9
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   1   other evidence that rebuts this prima facie showing. The only other evidence relied on by
   2   Lucent, the inventor Mr. Johnston’s testimony, does not indicate that the work incorporated
   3   in claim 4 was performed prior to April 1989. Johnston testified that he constructed his
   4   perceptual transform (PXFM) decoder software by April 2, 1987 (Trial Tr. vol. VI, 97:5-
   5   11, Feb. 5, 2007.) Johnston testified only that his constructed PXFM performed the
   6   functionality related to the decoder described in the ‘457 patent; he did not testify as to
   7   whether his constructed decoder had the DSP and/or VLS1 corresponding structures.
   8   Lucent’s argument that several experts testified as to the existence of DSPs before April
   9   1989 is of no avail, nor is the evidence that Johnston may have known about DSPs in some
  10   general context (but not in the context of his invention). The question is not whether the
  11   inventor could have constructed the decoder with the corresponding structure but whether
  12   he did.
  13             Because the only evidence of work involving the decoder constructed with the DSP
  14   and/or VLSI corresponding structure appeared in the ‘938 specification as filed September
  15   22, 1994 (priority date March 2, 1992), there was insufficient evidence to support the jury’s
  16   verdict that claim 4 was performed before April 1989. Therefore, Microsoft’s motion for
  17   judgment as a matter of law on this issue is GRANTED. Additionally, because the jury’s
  18   verdict was against the clear weight of the evidence, in the alternative, the Court GRANTS
  19   a new trial on this issue.
  20             C.     Ownership of the ‘080 Patent
  21             Having determined that claims 2 and 4 were performed on or after April 1989, under
  22   the JDA, these claims constitute “New Work.” The question then turns to the ownership
  23   rights of this work as it stands incorporated into the ‘938 and ‘080 patents. The JDA
  24   contains the following relevant provisions on ownership of New Work:
  25             All New Work is treated as joint work. The intellectual property rights to that work
                 will be jointly owned by AT&T and FhG. Each party has the nonexclusive right to
  26             make use of the results of New Work (including intellectual property rights), and
                 may grant nonexclusive licenses to others to use the results of such New Work.
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  28                                                   10
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   1   (DX 6489 at 3 § 1.)
   2          The parties will consult with each other regarding the filing of patent applications on
              New Work including New Work reflected in the above-mentioned transmittals and
   3          papers proposed for publication. Each party will have the first opportunity to file
              patent applications for New Work done primarily by its employees, but if a party
   4          declines the opportunity to file any such patent application, or after filing any patent
              application chooses not to proceed further in attempting to secure a patent, the other
   5          party may elect to do so. Each party will ensure that its employees, and others
              cooperating with it in New Work cooperate with the other party in filing all patent
   6          applications.
   7   (Id. at 3 § 2.) Based on these passages and the context of the agreement, the JDA
   8   evidences an intent to share ownership of New Work, including work on which patent
   9   applications would be filed.
  10          The ‘938 and ‘080 patents encompassing the jointly owned New Work also contains
  11   two additional claims (claims 1 and 3) that are not New Work.4 These claims are classified
  12   as “Existing Technology” under the JDA, defined as Digital Audio Coding Work before the
  13   beginning of the period of Brandenburg’s stay at AT&T (before April 1989) as described in
  14   Attachments A and B to the JDA. (Id. at 2.) The JDA addresses Existing Technology
  15   under licensing provisions:
  16
              Existing AT&T Technology and Existing FhG Technology, including related patents
  17          and patent applications will be available under license to the other party, subject to
              the terms of a perpetual nonexclusive. royalty-free license between AT&T and FhG.
  18
       (Id. at 3 § 3.) The JDA also envisioned that Fraunhofer would have rights to sublicense
  19
       AT&T’s Existing Technology to third parties only under defined circumstances.5 (Id. at 3
  20
       §§ 5, 6.)
  21
              The JDA does not contain any explicit provisions for newly filed patents and/or
  22
  23          4
                The ‘938 patent contains claims 1-4. The ‘080 patent contains claims 1, 3 and 4; Lucent
       removed claim 2 from the ‘080 patent during prosecution of the reissue application. At trial,
  24   Microsoft did not show that claims 1 and 3 were not entitled to the earliest priority date of the ‘080
       patent (1988). The evidence indicated that these claims were performed by Johnston prior to the
  25   collaboration with Fraunhofer and could claim priority to the ‘457 patent. The ‘457 patent was
       defined as Existing Technology under the JDA. (Id. at 2, Attachment A.)
  26
              5
               These circumstances have previously been determined not to apply to the Fraunhofer-
  27   Microsoft agreements covering the technology at issue here.
  28                                                    11
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   1   patent applications that contain both New Work and Existing Technology. Under Pope
   2   Mfg. Co. v. Gormully & Jeffery Mfg. Co., 144 U.S. 248, 252 (1892), a patentee can not
   3   split up ownership of an existing patent by assigning separate claims to different parties.
   4   Hence, the JDA cannot readily be interpreted to split the ‘938 and/or ‘080 patents into
   5   “New Work” (claims 2 and 4) owned by both AT&T and Fraunhofer and “Existing
   6   Technology” (claims 1 and 3) owned solely by AT&T, without coming into conflict with
   7   Pope.
   8           Lucent argues that the JDA should be interpreted to provide full ownership of the
   9   ‘938 and ‘080 patents to AT&T and give only licensing rights on the New Work to
  10   Fraunhofer. It argues that the sentence dictating “joint ownership” over New Work does
  11   not give Fraunhofer true ownership rights because the subsequent sentence provides
  12   Fraunhofer only with the right to use the New Work, not make it or sell it. (See DX 6489
  13   at 3 § 1.) This position is unpersuasive. The JDA does not divide the rights to make, use
  14   and sell between the parties. It only provides the rights “to make use” to both parties.
  15   Interpreting this phrase as only the right to use would suggest that neither party could make
  16   or sell technology encompassing the New Work, a result that is nonsensical. Additionally,
  17   the JDA states that the parties may “make use of” intellectual property rights to the New
  18   Work and that the parties envisioned that rights to New Work would be memorialized in
  19   patent applications filed on the New Work. (Id. at 3 §§ 1, 2.) Intellectual property rights
  20   (e.g., patent ownership) on New Work would include rights to make, use and sell. There is
  21   nothing to suggest that the JDA did not intend for these intellectual property rights of
  22   making, using and selling the New Work to flow to both parties.
  23           The circumstances here have many parallels with those of Israel Bio-Engineering
  24   Project v. Amgen, Inc., 475 F.3d 1256, 1263-64 (Fed. Cir. 2007). In that case, two parties
  25   executed a series of agreements regarding a joint research and development project which
  26   provided ownership of work performed during the joint project to one party and all work
  27   done subsequent to the joint project to the other. Id. at 1259-1260. A patent was filed
  28                                                 12
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   1   containing three claims: one claim encompassed work done as part of the joint project; the
   2   other two claims encompassed later work. Id. at 1261. Since ownership attaches to the
   3   patent as a whole, the Court found that neither party could have sole ownership of the
   4   patent. Id. at 1267-68. Instead, the two parties each had undivided co-ownership interest.6
   5   Id. at 1268. Furthermore, the Court refused the suggestion that because one party had filed
   6   all the claims together, that party forfeited all ownership rights to the joint work
   7   incorporated therein. Instead, the only thing forfeited was either parties’ right to
   8   exclusivity to any of the work encompassed in the claims of the patent. Id. at 1267.
   9          Similarly here, by filing claims to New Work in the same application as claims to
  10   Existing Technology, the patent is jointly owned by AT&T and Fraunhofer. AT&T cannot
  11   cause Fraunhofer to forfeit its ownership rights to New Work simply by filing AT&T’s
  12   Existing Technology in the same patent application. If anything is forfeited, it is AT&T’s
  13   rights to exclusive ownership of the entire ‘938 patent. AT&T forfeited that right when it
  14   chose to file all four claims in one application. Lucent made a similar decision when it
  15   applied for the reissue that became the ‘080 patent and chose to keep claim four in the same
  16   application with claims one and three, all with one priority claim. The Court therefore
  17   FINDS that under the JDA, the ‘938 patent and its reissue, the ‘080 patent, are jointly
  18   owned by AT&T and Fraunhofer.
  19          D.      Lucent’s Standing
  20          “An action for infringement must join as plaintiffs all co-owners.” Ethicon, Inc. v.
  21   U.S. Surgical Corp., 135 F.3d 1456, 1467 (Fed. Cir. 1998). Since Fraunhofer is a co-owner
  22   of the ‘080 patent and it is not joined in the instant suit, Lucent lacks standing to sue
  23
              6
                  Although the situation in Israel also concerned joint inventors, that difference does not
  24   render the comparison to the instant circumstances inapplicable. Here, the situation created by the
       filing of New Work and Existing Work into a single patent is much like the filing of a patent with
  25   more than one inventor, where all the inventors did not contribute to each and every claim. Even
       though Johnston is a single inventor, there are two "personas": Johnston with AT&T as the sole owner
  26   of his Existing Technology and Johnston with joint owners AT&T and Fraunhofer to his New Work.
       The filing of an application with these two "personas" renders the same result as filing with multiple
  27   inventors - each assignee is a joint owner of the whole patent.
  28                                                    13
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   1   Microsoft for infringement on this patent. The Court therefore DISMISSES under Fed. R.
   2   Civ. P. 12(b)(1) Lucent’s claims on the ‘080 patent in their entirety and AMENDS its Rule
   3   52(b) judgment accordingly.
   4          Although Lucent could potentially amend its complaint to join all co-owners in the
   5   suit and establish standing, as discussed below, it appears from the record that Fraunhofer
   6   has granted a license to Microsoft. Absent any challenge of this license, even if Lucent
   7   could establish standing, Microsoft would not be liable to Lucent or any other co-owner of
   8   the ‘080 patent.
   9          E.     Microsoft’s License Defense
  10          In 1997, Microsoft entered into a software agreement with Fraunhofer. (PX34.)
  11   This agreement provided Microsoft with the codecs which were incorporated into Windows
  12   Media Player and are now at issue in the instant suit. (Id. at § 4.1.) The agreement also
  13   granted to Microsoft licenses to patents owned by Fraunhofer necessary to exercise the
  14   software licencing rights provided therein. (Id. at § 4.2.) Because the ‘938 patent and
  15   therefore the ‘080 patent is jointly owned by AT&T and Fraunhofer, to the extent the ‘080
  16   patent is necessary to the performance of the Windows Media Player functions accused
  17   herein, Microsoft, through its agreement with Fraunhofer has a license to the ‘080 patent.
  18   See Schering Corp. v. Roussel-UCLAF SA., 104 F.3d 341, 344 (Fed. Cir. 1997) (“Each
  19   co-owner's ownership rights carry with them the right to license others, a right that also
  20   does not require the consent of any other co-owner.”). Microsoft as a licensee cannot be
  21   liable for infringement of the ‘080 patent. 35 U.S.C. § 271. Therefore, the Court FINDS
  22   that Microsoft has prevailed on its licensing defense and is NOT LIABLE for infringement
  23   of the ‘080 patent. The Court AMENDS its Rule 52(b) judgment accordingly.
  24   IV.    INFRINGEMENT OF THE ‘457 PATENT
  25          A.     Direct Infringement
  26          Microsoft argues that no reasonable jury could have found on the evidence presented
  27   at trial that the back-up HQ encoder of the Windows Media Player infringed the claims of
  28                                                 14
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   1   the ‘457 patent because there was no evidence that the HQ encoder had ever performed the
   2   claimed methods.
   3             To prove infringement of a methods claim (such as claims 1 and 5 of the ‘457
   4   patent), there must be sufficient evidence that establishes the device is capable of
   5   performing the method and that it indeed performs that method. Joy Technologies, Inc. v.
   6   Flakt, Inc., 6 F.3d 770, 775 (Fed. Cir. 1993) (“A method claim is directly infringed only by
   7   one practicing the patented method”); see also Ormco Corp. v. Align Technology, Inc., 463
   8   F.3d 1299, 1311 n. 12 (Fed. Cir. 2006).
   9             There was no direct evidence that the HQ encoder performed the patented methods
  10   presented at trial. Even Lucent’s expert, Dr. Polish, testified that he had never observed the
  11   HQ encoder running, he had not made a CD encoded by the HQ encoder, and he could not
  12   explain how a user would select and run the HQ encoder (over the default fast encoder).
  13   (Trial Tr. vol. III, 198:1-199:5, 200:18-24, Jan. 31, 2007.) Instead, Lucent argues that its
  14   proof of infringement centered on circumstantial evidence that the HQ encoder would run
  15   automatically when the fast encoder failed and therefore carry out the claims of the ‘457
  16   patent.
  17             Circumstantial evidence may be sufficient in some circumstances to prove direct
  18   infringement. Moleculon Research Corp. v. CBS, Inc., 793 F.2d 1261, 1272 (Fed.
  19   Cir.1986) (“circumstantial evidence of extensive puzzle sales, dissemination of an
  20   instruction sheet teaching the method of restoring the preselected pattern with each puzzle,
  21   and the availability of a solution booklet on how to solve the puzzle” was sufficient to show
  22   direct infringement of patented method claims to solve the Rubik’s cube). On other facts,
  23   circumstantial evidence may be insufficient. E-Pass Technologies, Inc. v. 3Com Corp., 473
  24   F.3d 1213, 1222 (Fed. Cir. 2007) (each step of the claimed method was only taught in
  25   isolation such that too much speculation was needed to conclude that any customer had
  26   ever performed the steps of the method in the order claimed in the patent).
  27             Here, the evidence regarding the functioning of the HQ encoder presented an
  28                                                  15
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   1   interesting dilemma. According to Lucent’s expert Dr. Polish, the HQ encoder would

   2   initialize and run if the default fast encoder of Windows Media Player failed. (Trial Tr.

   3   vol. III, 139:13-16; 142:16-20, Jan. 31, 2007.) This analysis was based on his review of the

   4   source code. (Id. at 139:17-20, 141:15-24.) Dr. Polish opined that four types of errors

   5   would cause the fast encoder to fail. (Id. at 144:7-145:4.) Although he testified that in his

   6   opinion, these errors occur in practice, (id. at 146:7-9), he did not know at what rate such

   7   errors occurred, nor had he ever observed such errors (id. at 145:23-146:6, 185:8-25,

   8   196:2-14). He also testified that errors that would cause the fast encoder to fail would not

   9   cause the HQ to also fail because the two encoders used different initialization tests. (Id. at

  10   146:17-147:9.) Again, this analysis was based on an examination of the source code; Dr.

  11   Polish had never seen it happen in practice, nor reproduced it himself. (Id. at 185:1-186:5.)

  12   No other witness testified to having observed the HQ encoder perform, nor was there any

  13   tangible evidence of such performance. Tellingly, when Lucent’s expert was asked if he

  14   had tested his theories, he replied in the negative. Although he had available to him a

  15   debugger which he successfully used to test the fast encoder’s functions as they pertained

  16   to the claims of the other patent in suit, the ‘080 patent (id. at 159:16-160:2), he never

  17   attempted to use the same debugger to test for the failure of fast encoder or the running of

  18   the HQ encoder (id. at 197:7-13). Furthermore, although he admitted he could have built

  19   an apparatus to test for the errors that would make the fast encoder fail and trigger the HQ

  20   encoder, he chose not to do so. (Id. at 197:14-19.) When asked if he could even explain to

  21   the jury how he would go about making the HQ encoder work, he replied that he could not

  22   (Id. at 198:6-17; see also id. at 199:4-5 (“If I could tell you how to do it, I could have done

  23   it myself.”).)

  24          In essence, Lucent offered circumstantial evidence that proved at most that the HQ

  25   encoder was possibly capable of running. What it failed to show, circumstantially or

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  28                                                 16
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   1   otherwise, was that HQ had actually ever run and performed the claimed method.7 This

   2   evidence is insufficient as a matter of law to demonstrate infringement of a methods claim.

   3   While Lucent argues that “the record was replete with evidence that the HQ encoder will be

   4   invoked as a result of common conditions that occur routinely in practice,” as the Federal

   5   Circuit noted in E-Pass Technologies, Inc. v. 3Com Corp., 473 F.3d 1213, 1223 (Fed. Cir.

   6   2007), if it was so common and so routine, certainly Lucent could have introduced

   7   evidence of at least one instance where the HQ encoder had run.

   8          The instant circumstances differ from those of Moleculon, on which Lucent relies.

   9   In that case, there was no question that if a user followed the instruction manual, the

  10   Rubik’s cube puzzle would be solved. Witness testimony established that, in addition to

  11   the circumstantial evidence of instructions to solve the puzzle, many people had been

  12   observed solving the accused Rubik's cube. Moleculon Research Corp. v. CBS, Inc., 594

  13   F. Supp. 1420, 1440 (D.C. Del. 1984), overruled by Moleculon, 793 F.2d 1261 (Fed.

  14   Cir.1986). In contrast, here, although according to the source code the HQ encoder could

  15   infringe the claimed methods if it ran, the evidence established only uncertainty and

  16   speculation as to whether it had ever run even once. Like the circumstances in E-Pass, 473

  17   F.3d at 1222, where the accused personal digital assistant (PDA) could perform many

  18   functions other than the claimed method, here, even according to Lucent’s expert, a

  19   computer running Windows Media Player is running dozens of processes, with thousands

  20   of instructions, “there may be bugs. There may not be bugs. There’s all kinds of things

  21   that could be happening.” (Trial Tr. vol. III, 183:20-184:5.)8

  22
              7
                The Court considers here the evidence under the standard for judgment as matter of law.
  23   There also was evidence at trial from Microsoft to refute Lucent’s theories. However, the jury was not
       required to believe Microsoft’s expert, nor accord him the same weight as Lucent’s expert.
  24
  25          8
                  The Court also finds Lucent’s argument unavailing that simply because the HQ encoder is
       in Windows Media Player as a backup, it must perform the claimed methods. Whether or not
  26   Microsoft may have intended or attempted to perform the claimed methods with the HQ encoder, the
       key question is whether the accused software did perform. “Attempted infringement” does not create
  27   liability.
  28                                                    17
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   1          Given this amount of speculation, the Court finds that Lucent failed to meet its

   2   burden to demonstrate by a preponderance of the evidence, direct or circumstantial,

   3   performance of the methods claims of the ‘457 patent by the HQ encoder. Therefore the

   4   Court GRANTS judgment as a matter of law that the HQ encoder does not infringe claims

   5   1 and 5 of the ‘457 patent. In the alternative, the Court GRANTS a new trial as to

   6   infringement of these claims. Based on the level of speculation and uncertainty, as well as

   7   the lack of any attempt by Lucent or its experts to demonstrate the failure of the fast

   8   encoder and/or the performance of the HQ encoder, the Court finds that the jury’s verdict

   9   of infringement was against the clear weight of the evidence.

  10          The remaining claim of the ‘457 patent at issue, claim 10, is a product-by-process

  11   claim. The case law is divided on whether this type of claim is treated as a product claim

  12   or more like a methods claim. In Scripps Clinic & Research Foundation v. Genentech, Inc.,

  13   927 F.2d 1565, 1583 (Fed. Cir. 1991), one panel of the Federal Circuit ruled that products

  14   by process claims “are not limited to product prepared by the process set forth in the

  15   claims.” One year later in Atlantic Thermoplastics Co., Inc. v. Faytex Corp., 970 F.2d 834,

  16   846 -847 (Fed. Cir. 1992), another Federal Circuit panel ruled “process terms in

  17   product-by-process claims serve as limitations in determining infringement.” While

  18   seemingly in contradiction, this Court resolved the issue relative to the ‘457 patent based

  19   on the context of the claim at issue. Claim 10 reads “A storage medium manufactured in

  20   accordance with a process comprising the steps of:” and then lists several steps defining the

  21   process. Ignoring the process steps would leave only “a storage medium” as the claimed

  22   product, an untenable position since storage media were well known in the art as of the

  23   ‘457 patent. Thus, the Court concluded that claim 10 was limited by these process steps

  24   and instructed the jury that “[a] product-by-process claim is a product or ‘apparatus’ claim

  25   that is further defined by one or more steps of a process used to make the product.”

  26   (Court’s Jury Instruction No. 33; docket no. 1168.)

  27          Lucent argues that the jury’s verdict of infringement of this claim is supported by

  28                                                 18
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   1   sufficient evidence because it proved that a computer loaded with Microsoft’s Windows

   2   Media Player is capable of carrying out these process steps. While generally, to infringe a

   3   product claim, the accused device need only be capable of infringement, this determination

   4   may depend on the claim language. In Intel Corp. v. U.S. Intern. Trade Com'n, 946 F.2d

   5   821, 832 (Fed. Cir. 1991), the use of the phrases “programm able selection means” and

   6   “whereby when said alternate addressing mode is selected” led the Court to conclude that

   7   the device need only be capable of operating in such a manner rather than requiring proof

   8   of such actual operation. In contrast, in Cross Medical Products, Inc. v. Medtronic

   9   Sofamor Danek, Inc., 424 F.3d 1293, 1310-12 (Fed. Cir. 2005), the Court found the term

  10   “operatively joined” to be a structural limitation such that an accused device would only

  11   infringe if it actually was joined, but not if it was simply “capable of” being joined.

  12          Here, the claim language resembles that in Cross Medical. Claim 10 uses the term

  13   “manufactured in accordance with a process comprising” indicating that to infringe the

  14   claim, the accused storage medium must have been made using the process, rather than one

  15   that is made in another manner but capable of carrying out the process. There was no

  16   evidence at trial that anyone had ever made anything with the claimed process.9 As

  17   Lucent’s expert admitted, he had not even attempted to make the HQ encoder run, let alone

  18   derive a storage medium product (such as a CD with an mp3 file) made by the HQ encoder.

  19   Therefore, the Court finds that as a matter of law, the evidence presented at trial cannot

  20   support a finding of infringement of claim 10. Microsoft’s motion for judgment as a matter

  21   of law of no infringement of claim 10 is GRANTED.

  22          Alternatively, the Court also GRANTS Microsoft’s motion for a new trial on the

  23   infringement of claim 10. The new trial is granted on two grounds. First, for the same

  24   reasons as found for claims 1 and 5, the clear weight of the evidence does not support the

  25   jury’s finding of infringement of claim 10. Second, the Court finds that there was a conflict

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  27          9
                  The process steps of claim 10 are essentially the method steps set out in claim 1.
  28                                                      19
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   1   in the jury instructions which may have provided an erroneous standard for the jury.

   2   Although the Court’s Jury Instruction No. 32 correctly instructed the jury that “[i]n order to

   3   literally infringe a product-by-process claim, you must find that each step of the process is

   4   literally performed in making the accused product,” the Court’s Jury Instruction No. 33,

   5   instructed “[a]n accused product may be found to infringe a product-by-process-claim if the

   6   accused product is manufactured so that it is capable of using the steps of the process as

   7   they are recited in the claim.” (See Court’s Jury Instructions; docket no. 1168.) The jury

   8   may have therefore decided the question of infringement of claim 10 on the erroneous

   9   standard set out in the latter instruction.

  10            B.     Indirect Infringement

  11            “Liability for either active inducement of infringement or for contributory

  12   infringement is dependent upon the existence of direct infringement.” Joy Technologies,

  13   Inc. v. Flakt, Inc., 6 F.3d 770, 774 (Fed. Cir. 1993). In light of the Court’s rulings on no

  14   direct infringement, the Court therefore GRANTS judgment as a matter of law and in the

  15   alternative, a new trial on indirect infringement. Although Microsoft raises other grounds

  16   in its motions, the Court need not and does not address them here.

  17   V.       INFRINGEMENT OF THE ‘080 PATENT

  18            Although as analyzed herein, Lucent lacks standing to sue for infringement of the

  19   ‘080 patent and Microsoft has a license through its agreement with Fraunhofer to practice

  20   the ‘080 patent with regards to the accused encoders, the Court alternatively rules herein on

  21   Microsoft’s motions for judgment as a matter of law and for new trial pertaining to

  22   infringement issues, as well as invalidity and damages issues on the ‘080 patent.

  23            A.     Claim Construction

  24            Microsoft contends that the Court’s claim construction of the element (c) in claim 1

  25   of the ‘080 patent was overly broad and therefore a new trial is warranted. Element (c)

  26   reads:

  27            (c) using a rate loop processor in an iterative fashion to determine a set of

  28                                                   20
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   1          quantization step size coefficients for use in encoding the set of frequency
              coefficients, said set of quantization step size coefficients determined by using the
   2          masking threshold and an absolute hearing threshold;

   3   Microsoft argues that the Court’s claim construction encompassed combining the masking

   4   threshold and absolute hearing threshold as an “input” to the rate loop. It argues that the

   5   prosecution history required the “use” of both thresholds within the rate loop itself.

   6          This issue was considered during the Markman hearings and the Court ruled that the

   7   claim was not limited to the use of both thresholds within the rate loop. Microsoft has

   8   provided no new arguments on this point. It simply asserts the issue here to preserve it for

   9   appeal. Therefore, the Court DENIES Microsoft’s motion for a new trial on this ground.

  10          B.     Direct Infringement

  11          Microsoft contends in cursory fashion that there was insufficient evidence for the

  12   jury to have concluded that the pbThresholdQuiet of the accused products meets the

  13   Court’s claim construction for an absolute hearing threshold (AHT) in the ‘080 patent

  14   claims. Microsoft argues that its expert testified to just the opposite, that pbThresholdQuiet

  15   was not the AHT of the patent. Lucent, however, points to testimony of its own expert that

  16   pbThresholdQuiet is an AHT. Additionally, Lucent points to the cross-examination of

  17   Microsoft’s expert where Lucent used the expert’s own report to impeach him; the report

  18   stated that pbThresholdQuiet is an AHT. The Court finds that the jury had sufficient

  19   evidence on which it could have based its finding of infringement.

  20          Microsoft also argues that the Court’s refusal to allow reference to the judgment in

  21   the Dolby case (a suit on the predecessor ‘938 patent against Dolby’s technology)

  22   prejudiced Microsoft’s ability to show non-infringement. At the hearing on Lucent’s

  23   motions in limine, the Court excluded the findings in Dolby as hearsay, although it allowed

  24   the parties to use statements made in that case by witnesses or parties for purposes of

  25   impeachment. (Transcript in limine Hr’g, 113:7-9; 114:21-115:1, Jan. 3, 2007.) Microsoft

  26   has not offered an exclusion, exemption or exception to hearsay under the rules of evidence

  27   which would suggest that this decision was in error. Furthermore, Microsoft primarily

  28                                                 21
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   1   argued in its opposition to this motion in limine that the evidence was relevant to

   2   willfulness and/or impeachment of witnesses, not as direct evidence of non-infringement.10

   3   Thus, the exclusion was not in error and there was no prejudice to Microsoft. Microsoft’s

   4   motions for judgment as a matter or law and for a new trial on the issue of direct

   5   infringement of the ‘080 patent are DENIED.

   6          C.      Contributory Infringement by All of the Accused Encoders

   7          Microsoft argues that the jury’s findings on contributory infringement are wrong and

   8   against the clear weight of the evidence in light of the recent holding by the Supreme Court

   9   in Microsoft Corp. v. AT & T Corp., 127 S. Ct. 1746, 1750 (2007). Microsoft contends

  10   that the AT&T holding addressing foreign sales under 35 U.S.C. § 271(f) also should be

  11   applied to infringement under § 271(c) for domestic sales.

  12          This Court has no reason to interpret AT&T so expansively. One of the key

  13   concerns regarding § 271(f) is the effect of U.S. patent law on extraterritorial activities.

  14   “The traditional understanding that our patent law operates only domestically and does not

  15   extend to foreign activities . . . is embedded in the Patent Act itself, which provides that a

  16   patent confers exclusive rights in an invention within the United States.” Id. at 1758

  17   (internal quotations and citation omitted). This concern does not infect § 271(c). While

  18   domestic patent laws more readily govern facilitation and inducement of infringement, §

  19   271(f) is limited to components supplied for a combination that will be made outside the

  20   United States.

  21          There is no precedent for limiting the scope of § 271(c) to the limits placed on §

  22   271(f). Just as the Supreme Court declined to remedy potential inconsistencies or

  23   loopholes in the patent laws and left such issues for Congress to address, here too, this

  24   Court leaves the legislature to consider whether supplying software as an “intangible”

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              10
                 (See Transcript in limine Hr’g, 113:10-19, Jan. 3, 2007.) Microsoft prevailed on the issue
  26   of willfulness at trial, regardless of the exclusion. With respect to infringement and validity issues,
       Microsoft primarily argued the Dolby case was relevant because of the inconsistent positions taken
  27   by Lucent and its witnesses. The Court permitted the use of testimony from Dolby for these purposes.
  28                                                     22
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   1   should be exempted from § 271(c). Microsoft’s motion for a new trial on contributory

   2   infringement is DENIED.

   3          D.     Indirect Infringement by the Cyberlink Encoder

   4          Microsoft challenges the sufficiency of the evidence for the jury’s verdict on

   5   contributory infringement and inducing infringement of the ‘080 patent by the Cyberlink

   6   plug-in encoder. Regarding contributory infringement, Microsoft, in a cursory fashion,

   7   contends that Lucent failed to introduce sufficient evidence because Windows Media

   8   Player with the Cyberlink plug-in encoder has substantial noninfringing uses. The Court,

   9   however, finds no evidence of any other uses for the Cyberlink plug-in encoder in the

  10   record. Simply packaging the Cyberlink plug-in encoder with the Windows Media Player,

  11   a device that itself has many other functions, does not insulate the encoder from

  12   infringement. Northern Telecom, Inc. v. Datapoint Corp., 908 F.2d 931, 945 (Fed. Cir.

  13   1990) (the addition of features to a patented device or the addition of functions to a device

  14   performing a patented method does not avoid direct infringement).11 Therefore,

  15   Microsoft’s motions for judgment as a matter of law and for a new trial as to contributory

  16   infringement by the Cyberlink plug-in are DENIED.

  17          As for inducing infringement, Microsoft contends that the element of specific intent

  18   was not met because there was no evidence that Microsoft knew how the Cyberlink product

  19   functioned and additionally, that there was little or no evidence of inducement other than a

  20   website link. As to the website, evidence and testimony was presented showing that

  21   Microsoft advertised its products with a link to the Cyberlink plug-in to provide users with

  22   their choice of features; thus a jury could conclude that such advertising was sufficient

  23   encouragement and/or instructions for inducement.

  24
  25          11
                 This is not the circumstances present in Hodosh v. Block Drug Co., Inc., 833 F.2d 1575,
       1578 (Fed. Cir.1987) and Aquatex Industries, Inc. v. Techniche Solutions, 419 F.3d 1374, 1380 n.*
  26   * (Fed. Cir.2005), where a patented product incorporated a staple ingredient (and hence selling the
       staple was not contributory infringement). Here, the Cyberlink Plug-in is not a staple, and
  27   incorporating it into Windows Media Player does not somehow “convert” it into a staple ingredient.
  28                                                   23
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   1          However, the Court finds that there was insufficient evidence to show that Microsoft

   2   had any knowledge that the Cyberlink encoder was an infringing device. The testimony

   3   pointed to by Lucent on this issue demonstrates only that the binary code (machine code)

   4   was provided to Microsoft by the Cyberlink Corporation; the source code was not provided.

   5   (Trial Tr. vol. X, 26:22-27:4, Feb. 12, 2007.) Lucent does not point to any evidence or

   6   testimony that would explain how Microsoft should have known from the binary code that

   7   the Cyberlink plug-in infringed the ‘080 patent. According to the testimony of the witness

   8   from Cyberlink, the function of the encoder with regard to encoding mp3 files was never

   9   discussed with Microsoft. (Id. at 27:24-28:23.) Therefore, as to inducing infringement as it

  10   relates to Windows Media Player with Cyberlink plug-in, the Court finds that there was

  11   insufficient evidence to demonstrate that Microsoft knew or should have known that its aid

  12   or encouragement would cause the infringement of the ‘080 patent; judgment as a matter of

  13   law on this issue is GRANTED. Alternatively, because the jury’s verdict was against the

  14   clear weight of the evidence, the Court GRANTS a new trial on this issue.

  15   VI.    INVALIDITY DEFENSES

  16          A.     Anticipation/Obviousness of the ‘080 Patent: the OCF Paper

  17          Microsoft contends that Lucent failed to present any evidence to rebut Microsoft’s

  18   prima facie case that the OCF Paper rendered claim 4 of the ‘080 patent anticipated and/or

  19   obvious. However, as Lucent argues, the jury may have reached its verdict because

  20   Microsoft failed to demonstrate invalidity by clear and convincing evidence and/or because

  21   Lucent’s expert Dr. Jayant provided amble rebuttal evidence.

  22          Microsoft’s expert Dr. Brandenburg testified that claim 4 (a means-plus-function

  23   claim) had several overlapping elements with claim 1 (Trial Tr. vol. VII, 88:16-89:2, Feb.

  24   6, 2007.) These overlapping elements were analyzed in detail with regard to claim 1. (Id.

  25   at 78:19-87:4.) In contrast, Brandenburg addressed the means-plus -function element of

  26   claim 4, which is not an element in claim 1, in only a cursory fashion. (Id. at 91:4-13.)

  27   Although he testified about function of this element, he did not opine where the

  28                                                24
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   1   corresponding structure could be found in the prior art. Absent this testimony, the jury may

   2   have found his analysis lacking.

   3          As for rebuttal evidence, Lucent’s expert Dr. Jayant testified that elements (c) and

   4   (d) of claim 1 were not found in the OCF paper, nor was it obvious to combine other art to

   5   arrive at these claim limitations. (Trial Tr. vol. XI, 78:24-90:4, Feb 13, 2007.) As

   6   explained above, these claim limitations overlapped those of claim 4 and would thus be

   7   missing in both claims. Therefore, the Court finds that there was ample evidence in the

   8   record to support the jury’s findings that the OCF Paper did not anticipate the ‘080 patent

   9   or render it obvious. Microsoft’s motions for judgment as a matter of law and a new trial

  10   on this issue are DENIED.

  11          B.      Failure to Swear Behind Low Bit Rate Paper

  12          Microsoft also contends that a jury could not have found the ‘080 patent valid in

  13   view of the Low Bit Rate Paper. It claims that Lucent failed to provide any evidence to

  14   swear behind this reference and thus, the Low Bit Rate Paper was definitively prior art.

  15          As for the status of the paper as prior art, Microsoft contends that all the evidence

  16   establishing the date of invention of the ‘080 patent came from the uncorroborated

  17   testimony of the inventor Johnston. In response, Lucent points to the corroborating

  18   evidence of a technical memo and a publication by Johnston.12 Irrespective of the

  19   corroboration issue, however, as discussed supra, Johnston’s testimony and supporting

  20   documentation cannot support a priority date of 1988 for all of the claims of the ‘080

  21   patent. In particular, they do not establish a date of invention earlier than the ‘938 patent

  22   itself for claim 4 which contains specific corresponding structure for the means-plus-

  23
              12
                 As to the technical memo, it has Johnston’s signature and also an additional unlabeled
  24   "signature." (PX128.) Lucent claims it is Dr. Jayant's signature and Microsoft has not challenged this
       assertion. This latter signature acts as the necessary corroboration to establish a date of invention.
  25   See
        Finnigan Corp. v. International Trade Com'n, 180 F.3d 1354, 1369 (Fed. Cir. 1999)(establishing that
  26   “corroboration is required of any witness whose testimony alone is asserted to invalidate a patent,
       regardless of his or her level of interest” and distinguishing prior cases such as Thomson, S.A. v.
  27   Quixote Corp., 166 F.3d 1172, 1176 (Fed. Cir. 1999) which stated otherwise).
  28                                                    25
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   1   function limitations. Therefore, the Low Bit Rate Paper which was published before the

   2   ‘938 patent may be considered prior art at least for claim 4.

   3          Even so, Microsoft’s contention that a jury could have only found that this reference

   4   anticipates the ‘080 patent meets with problems. First, as Lucent points out, Microsoft had

   5   the burden to demonstrate anticipation by clear and convincing evidence. Dr. Strawn,

   6   Microsoft’s only witness on this topic, did not opine on claims 1 and 3 and only offered

   7   conclusory testimony as to claim 4, simply “checking off” on a chart that each element of

   8   the claim was present in the reference.13 (Trial Tr. vol. VIII, 200:3 - 205:4, Feb. 7, 2007.)

   9   This testimony alone cannot be considered substantial evidence put before the jury. See

  10   Koito Mfg. Co., Ltd. v. Turn-Key-Tech, LLC, 381 F.3d 1142, 1152 (Fed. Cir. 2004)

  11   (“[T]estimony concerning anticipation . . . must identify each claim element, state the

  12   witnesses' interpretation of the claim element, and explain in detail how each claim element

  13   is disclosed in the prior art reference. The testimony is insufficient if it is merely

  14   conclusory.” (quoting Schumer v. Lab. Computer Sys., Inc., 308 F.3d 1304, 1315-16 (Fed.

  15   Cir.2002))). The Court thus finds that the jury’s verdict was supported by substantial

  16   evidence and DENIES Microsoft’s motion for judgment as a matter of law on this ground.

  17          C.      Exclusion of Mr. Johnston’s Testimony

  18          Microsoft asserts that it wished, but was not permitted, to elicit Johnston’s testimony

  19   that Lucent’s interpretation of the ‘080 patent claims was over-broad and rendered the

  20   patent invalid. It argues that this exclusion substantially prejudiced the outcome against

  21   Microsoft.

  22          The Court finds that this exclusion was not in error and did not result in any

  23   prejudice. First, as to the scope of Johnston’s testimony, at the motions in limine hearing

  24   before trial, Microsoft told the Court that Johnston would not be giving an opinion on

  25
  26          13
                 While Strawn also testified that this analysis was covered in his expert report, he did not
       further elaborate to say whether the report was also equally as conclusory or more detailed, nor was
  27   the report put into evidence. (Trial Tr. vol. VIII, 205:10-12, Feb. 7, 2007.)
  28                                                    26
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   1   invalidity; he would testify as a fact witness on issues such as the circumstances

   2   surrounding the filing of the reissue application. (Transcript in limine Hr’g, 26:23-27:12,

   3   Jan 3. 2007.) To the extent Microsoft wished to elicit additional testimony at trial, it should

   4   have raised this in a timely manner, especially in light of its prior statement to the Court.

   5          Second, while Microsoft argues that an inventor’s testimony may be used to

   6   invalidate a patent, the relevance of Johnston’s possible testimony on this issue is

   7   questionable at best. An inventor’s subjective opinion as to the interpretation of the claims

   8   is no longer relevant. “[O]nce the patent issues, the claims and written description must be

   9   viewed objectively, from the standpoint of a person of skill in the art.” Solomon v.

  10   Kimberly-Clark Corp., 216 F.3d 1372, 1380 (Fed. Cir. 2000). Here, Johnston was not

  11   designated as an expert witness and thus could not offer opinions as to invalidity. Further,

  12   Microsoft has not indicated any facts that Johnston would have offered that would have

  13   possibly changed the outcome here.

  14          Third, Microsoft’s primary objective for Johnston’s testimony as expressed during

  15   the motions in limine hearing and at side-bar during trial was to elicit facts regarding the

  16   circumstances of the reissue application that could be relevant to inequitable conduct in

  17   procuring the patent or the reissue. (Transcript in limine Hr’g, 26:23- 27:12, Jan 3. 2007;

  18   Trial Tr. vol. VI, 73:8-79:13, Feb. 5, 2007.) The Court permitted this testimony at trial and

  19   therefore Microsoft suffered no prejudice on this issue.. (Trial Tr. vol. VI, 83:13-84:5, Feb.

  20   5, 2007.) Therefore, the motion for a new trial on this ground is DENIED.

  21          D.      Impact of KSR Intern. Co. v. Teleflex Inc.

  22          Based on the recent U.S. Supreme Court’s ruling in KSR Intern. Co. v. Teleflex Inc.,

  23   127 S. Ct. 1727 (2007), Microsoft moves for judgment as a matter of law and/or new trial

  24   on obviousness.14 Having considered the evidence presented at trial and the instructions

  25
              14
                  The decision in KSR issued on April 30, 2007, almost two months after the verdict in the
  26   instant Group 2 trial. Since this trial remains here on direct review, KSR's holding applies. See
       Harper v. Virginia Dept. of Taxation, 509 U.S. 86, 90 (1993) ("[the Supreme] Court's application of
  27   a rule of federal law to the parties before the Court requires every court to give retroactive effect to
  28                                                     27
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   1   given to the jury on obviousness, the Court finds that neither judgment as a matter of law or

   2   a new trial is warranted. The standard used at trial was consistent with KSR and Microsoft

   3   has not persuaded the Court that the obviousness analysis would have proceeded any

   4   differently had the ruling in KSR been available at the time of the trial.

   5          The Court’s instructions to the jury did not require an explicit teaching or suggestion

   6   to combine:

   7          In deciding whether to combine what is described in various items of prior art, you
              may consider whether or not there was some motivation or suggestion for a
   8          skilled person to make the combination covered by the patent claims. The
              motivation or suggestion to combine the teachings of different prior art references
   9          may be found either explicitly or implicitly in the references themselves or in the
              knowledge generally available to one of ordinary skill in the art.
  10
       (Court’s Jury Instruction No. 51; docket no.1168 (emphasis added)). Although Microsoft
  11
       argues that the instruction should have explicitly stated that a suggestion or motivation to
  12
       combine was not required, KSR does not completely remove these considerations from the
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       analysis: “a patent composed of several elements is not proved obvious merely by
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       demonstrating that each of its elements was, independently, known in the prior art.” KSR,
  15
       127 S. Ct. at 1741. A reason for the combination is still an important consideration, even
  16
       though it need not be a rigid formula, nor “a formalistic conception”:
  17
              Often, it will be necessary for a court to look to interrelated teachings of multiple
  18          patents; the effects of demands known to the design community or present in the
              marketplace; and the background knowledge possessed by a person having ordinary
  19          skill in the art, all in order to determine whether there was an apparent reason to
              combine the known elements in the fashion claimed by the patent at issue.
  20
  21   Id. at 1740 -1741. KSR also reaffirmed familiar principles set out in Graham v. John

  22   Deere Co. of Kansas City, 383 U.S. 1, 17-18 (1966). KSR, 127 S. Ct. at 1739. The jury

  23   instructions here mirrored these Graham factors, and did not require a rigid or explicit

  24   teaching, suggestion or motivation to combine. The jury therefore considered the

  25   obviousness question under instructions compatible with KSR.

  26
  27   that decision").
  28                                                 28
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   1          Microsoft’s contentions that the testimony from Dr. Jayant (Lucent’s expert) was in

   2   contradiction with the KSR standard are unfounded. Jayant stated that he disagreed with

   3   the conclusion of Microsoft’s expert, who had opined that the citation of the book on

   4   psychoacoustics within the OCF paper would lead one of ordinary skill in the art to

   5   combine the two to result in the invention of the ‘080 patent:

   6          . . . what you're letting the reader know in the OCF paper is that there's this book that
              exists on psycho-acoustics. And that, by itself, doesn't mean that it teaches the reader
   7          to go into that book and look at one particular part in the book that indeed goes into
              absolute thresholds and so on, let alone put everything together to come up with the
   8          inventions of the claims of the 080 patent.

   9   (Trial Tr. vol. XI, 89:22-90:4, Feb. 13, 2007.) This testimony is not in contradiction with

  10   KSR which requires more than simply combining previously known elements from the

  11   prior art. KSR, 127 S. Ct. at 1741. Jayant’s reference to the impermissible use of hindsight

  12   analysis also is not in contradiction with KSR. “A factfinder should be aware, of course, of

  13   the distortion caused by hindsight bias and must be cautious of arguments reliant upon ex

  14   post reasoning.” Id. at 1742

  15          Finally, the Court is unpersuaded that KSR’s “broad implications” warrant

  16   reopening discovery and searching for new prior art. Although Microsoft points out that

  17   this Court allowed reopening of discovery in Groups 4 and 5, the circumstances differ here.

  18   Groups 4 and 5 had not started trial before the KSR ruling came out, whereas the Group 2

  19   trial has been completed. Additionally, an examination of district court and Federal Circuit

  20   rulings on obviousness since the KSR decision does not support Microsoft’s requested

  21   upheaval.15 In sum, Microsoft has not offered any meritorious reason why obviousness on

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              15
                 See e.g., Takeda Chemical Industries, Ltd. v. Alphapharm Pty., Ltd., - - F.3d - - , 2007 WL
  23   1839698, *4 (Fed. Cir. June 28, 2007) (finding that the district court’s analysis of obviousness using
       the Graham factors was consistent with an analysis under KSR); Leapfrog Enterprises, Inc. v.
  24   Fisher-Price, Inc., 485 F.3d 1157, 1162 (Fed. Cir. 2007) (affirming the district court’s finding that
       reasons in the industry to combine elements were sufficient to show obviousness); Sundance, Inc. v.
  25   De Monte Fabricating, Ltd., 2007 WL 1655423, *2 (E.D. Mich. June 7, 2007) (denying judgment as
       a matter of law and/or new trial because the jury’s obviousness determination did not use a rigid TSM
  26   test and thus was consistent with KSR); Stryker Trauma S.A. v. Synthes (USA), 2007 WL 1959231,
       *6 n.6 (D. N.J. June 29, 2007) (finding that substantial evidence supported the jury’s verdict of no
  27   obviousness because there was no evidence the jury applied a rigid “TSM” test and sufficient evidence
  28                                                    29
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   1   the ‘080 patent should be re-tried or why the jury’s verdict as to non-obviousness of the

   2   ‘080 patent was not support by sufficient evidence. Therefore, the motions for judgment as

   3   a matter of law and for a new trial on obviousness are DENIED.

   4          Regarding the ‘457 patent, an obviousness defense was not pursued by Microsoft at

   5   summary judgment or at trial.16 Microsoft made a tactical choice not to pursue this

   6   defense; it has made no showing that the defense was discarded because of the rigid TSM

   7   test or some other factor changed by KSR. Microsoft should not get another “bite at the

   8   apple” simply because it might have chosen a different strategy if KSR had already been

   9   decided. Case law is always a moving target and a party must keep that in mind when

  10   making tactical decisions. Therefore, the motion for a new trial on these grounds regarding

  11   the ‘457 patent also is DENIED.

  12   VII.   DAMAGES

  13          By statute, the damages for infringement are set at an amount “adequate to

  14   compensate for the infringement, but in no event less than a reasonable royalty for the use

  15   made of the invention by the infringer.” An award of damages by the jury “must be upheld

  16   unless the amount is grossly excessive or monstrous, clearly not supported by the evidence,

  17   or based only on speculation or guesswork.” Monsanto Co. v. Ralph, 382 F.3d 1374, 1383

  18   (Fed. Cir. 2004) (quoting Brooktree Corp. v. Advanced Micro Devices, Inc., 977 F.2d

  19   1555, 1580 (Fed. Cir.1992)).

  20          Microsoft sets forth several grounds on which it argues that the jury’s damages

  21   verdict should be overturned as a matter of law and/or a new trial should be granted: (1) the

  22   royalty rate and the royalty base used to calculate a reasonable royalty; (2) the lack of

  23   consistency of the jury’s numeric calculations; (3) the impact of the Supreme Court’s recent

  24   holding in Microsoft Corp. v. AT & T Corp., 127 S. Ct. 1746 (2007); and (4) the sway of

  25
       that the verdict was supported with an analysis using only the Graham factors).
  26
              16
                At summary judgment Microsoft put forth only anticipation on this patent; it was denied
  27   because of issues of fact. Microsoft did not pursue even this invalidity defense at trial.
  28                                                   30
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   1   passion and prejudice on the jury. These are each reviewed below.

   2          A.     The Royalty Base - Application of the Entire Market Value Rule

   3          Lucent presented a damages model based on a reasonable royalty for the patent; the

   4   model presented was a 0.5% royalty rate applied to the average price of a personal

   5   computer over the relevant years. Microsoft now argues that there was insufficient

   6   evidence to support the application of the entire market value rule on which Lucent

   7   predicated the royalty base on the cost of the entire computer.

   8          The entire market value rule is applicable where patented and unpatented

   9   components are sold together as a functional unit “so as to produce a desired end product or

  10   result.” Rite-Hite Corp. v. Kelley Co., Inc., 56 F.3d 1538, 1550 (Fed. Cir. 1995).

  11   Moreover, the patented component must be “the basis for customer demand or

  12   “substantially create the value of the component parts.” Id. at 1549.

  13          Two major problems arise in applying the entire market value rule here. The first is

  14   the failure of the evidence to establish a link between the cost of the computers (rather than

  15   the operating system, Windows Media Player, the MP3 codec or some other “unit”) and the

  16   customer demand or value of the patented technology. The second and probably even more

  17   troublesome problem is the failure to establish that the patented features themselves

  18   produced any customer demand or value of the product.

  19          The accused products were the HQ and fast encoders present in Windows Media

  20   Player. Lucent failed to establish at trial that a commercial necessity and/or desirability of

  21   these features was required in computers. Instead, Lucent established at most that there

  22   was a desirability that personal computers carry MP3 capabilities. Thobias Jones, a

  23   software design engineer at Microsoft, testified that MP3 was a popular request from users

  24   who desired Windows Media Player. (Trial Tr. vol. IV, 14:1-13, Feb. 1, 2007.) Dell

  25   representative Leonard Zwik testified that Windows Media Player was an integrated

  26   function of the computer’s operating system and that Dell would not sell a Windows

  27   operating system without Windows Media Player. (Id. at 72:5-73:1.) He also testified that

  28                                                 31
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   1   there was no customer demand for the version of Windows (XP-N) that lacked Windows

   2   Media Player. (Id. 73:2-74:10.) Witness David Fester, general manager of the Microsoft

   3   Windows Digital Media Division testified that MP3 was a feature which attracted users to

   4   Windows Media Player. (Id. at 85:23-86:7). Finally, Microsoft employee Geoff Harris,

   5   responsible for the development of the Windows Media Player product, testified that there

   6   was a market need and consumer demand for MP3 encoding capabilities. (Id. at 112:16-

   7   113:2.) The sum of this evidence establishes at most a market demand for an operating

   8   system containing Windows Media Player with MP3 capabilities. It does not establish that

   9   the demand for computers is based on Microsoft’s Windows Media Player and/or MP3

  10   technology.

  11          Even more problematically, however, is the lack of evidence showing that the

  12   patented features set forth in the claims of the ‘457 and/or ‘080 patents were the basis for

  13   customer demand and/or the substantial value of the product sold. Importantly, neither the

  14   ‘457 patent nor the ‘080 patent covers MP3 capability per se. Rather, each patent relates to

  15   a particular feature of MP3 capability.17 Hence, to apply the entire market value rule, the

  16   evidence must show that these features were the basis of the customer demand or

  17   substantially created the value of the product. See e.g., Fonar Corp. v. General Elec. Co.,

  18   107 F.3d 1543, 1549, 1553 (Fed. Cir. 1997) (the multi-angle oblique (MAO) imaging

  19   feature claimed in the patent was emphasized as a selling feature in the device found to

  20   infringe and thus a reasonable royalty was correctly based on the cost of the entire device);

  21   Bose Corp. v. JBL, Inc., 274 F.3d 1354, 1361 (Fed. Cir. 2001) (entire loudspeaker cost

  22   was the proper royalty base where the patented feature functioned as one unit with the other

  23
              17
                  Lucent's own witness Dr. Jayant, testified that MP3 technology originated from many
  24   sources and is composed of many features, including the bit stream syntax (how the bit stream is
       interpreted and meaningfully decoded to play back the audio signal), features of the decoder and some
  25   features of the encoder. (Trial Tr. vol. II, 121:11-23, 123:2-22, Jan. 30, 2007.) In contrast, the claims
       at issue related to only particular features that could be used in conjunction with MP3 encoders. The
  26   ‘457 patent relates to the methods of audio coding using a tonality value and a masking threshold. The
       ‘080 patent relates to methods and apparatus for audio coding which incorporates the use of an
  27   absolute hearing threshold in conjunction with a masking threshold.
  28                                                      32
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   1   components to provide the desired audible performance, the patented feature improved the

   2   performance of the loudspeaker, and the improved performance was the basis for the

   3   customer demand); Tec Air, Inc. v. Denso Mfg. Michigan Inc., 192 F.3d 1353, 1362 (Fed.

   4   Cir. 1999) (damages based on entire assembly of motor, radiator and condensor where the

   5   performance of the whole assembly was important to the customer, the fan was required for

   6   the assembly and the patented method of balancing the fan was critical to the function of

   7   the assembly and important to customer demand for the assembly); compare e.g., Imonex

   8   Services, Inc. v. W.H. Munzprufer Dietmar Trenner GMBH, 408 F.3d 1374, 1380 (Fed.

   9   Cir. 2005) (insufficient evidence for the entire market rule where the patented feature,

  10   which differentiated which coins were put into the machine, was not shown to be the basis

  11   for the customer demand of the entire laundry machine); Medtronic, Inc. v. Catalyst

  12   Research Corp., 547 F. Supp. 401, 414 (D.C. Minn. 1982) (the cost of entire pacemaker

  13   could not be the royalty base where value of the pacemaker was not substantially due to the

  14   patented features of the battery).

  15          Here, the Court finds no evidence adduced at trial that establishes that the patented

  16   features of either the ‘457 or the ‘080 patents were critical to MP3 or that they established

  17   the basis for the customer demand or value of MP3, let alone were critical or provided

  18   value to the whole computer. The evidence cited by Lucent from the trial record shows

  19   only that MP3 capabilities overall were a commercially important feature. According to

  20   Lucent’s expert Dr. Jayant, MP3 technology originated from many sources and the MP3

  21   standard specifies many aspects of audio compression. (Trial Tr. vol. II, 121:11-123-22,

  22   Jan 30, 2007.) Although Jayant pointed out what he considered important in the MP3, the

  23   key technology he identified related to the decoding of the bit stream syntax (which allows

  24   decoders from different manufactures to interpret and play back the audio signal); he did

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  26
  27
  28                                                 33
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   1   not identify either the invention of the ‘080 patent or the ‘457 patent as critical to MP3.18

   2   (Id. at 123:2-22.) Additionally, the evidence demonstrated that although the inventions of

   3   these patents could be used with the MP3 standard, they were not required or critical to

   4   practice the MP3 standard.

   5          Finally, Lucent’s assertion that even absent application of the entire market value

   6   rule, the use of the computers as a royalty base was correct because Microsoft has joint and

   7   several liability for Dell’s and Gateway’s infringement, is misplaced. Although an indirect

   8   infringer may be liable for all damages attributable to infringing sales, Water Tech., 850

   9   F.2d 660, 669 (Fed. Cir. 1988); Glenayre v. Jackson, 443 F.3d 851 (Fed. Cir. 2006), simply

  10   because Dell and Gateway sell computers does not automatically designate the computer as

  11   the royalty base. The same foundation for application of the entire market value rule would

  12   have been required even if Lucent had been in direct litigation with Dell and Gateway. In

  13   the absence of this nexus, Lucent may only recover damages for the value of the patented

  14   technology itself, regardless of the named defendant.19

  15          In sum, the Court finds that there was insufficient evidence to establish the required

  16   nexus between the patented features and the value of the entire computer and therefore, the

  17   jury’s application of the entire market value rule to the computer was unsupported as a

  18   matter of law. On this basis, Microsoft’s motion for judgment as a matter of law on the

  19   damages award is GRANTED. Lacking sufficient evidence to establish the proper royalty

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              18
                 Additionally, although Lucent point to the testimony of Microsoft’s witness Dr. Brandenburg
  21   as evidence that the patented features were essentially MP3, this testimony established at best that the
       technology which improved upon the ‘457 patent, set forth in U.S. Patent No. 5,040,217 (“the ‘217
  22   patent”), was incorporated as an optional psychoacoustic model in the MP3 standard. He testified
       that the ‘217 patent was the basis of AT&T’s (along with other companies’) submission to the MP3
  23   standard (ASPEC submission). According to Brandenburg, the ‘938 patent (on which the ‘080 reissue
       patent is based) was not even around when this submission was made. (Trial Tr. vol. VII, 13:2-17,
  24   15:10-17, Feb. 6, 2007.) He also stated that this technology was optional for the MP3 standard. (Id.
       at 191:4-11.)
  25
              19
                 Aside from the issue of the entire market value rule, Microsoft disputes generally that Lucent
  26   offered sufficient evidence of any value of the accused HQ and fast encoders to justify the $1.53
       billion verdict. Since this issue is intertwined with the establishment of a proper royalty base on
  27   which a new trial is granted, the issue need not and is not further addressed here.
  28                                                     34
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   1   base (both what the base would be and its cost) from the evidence at trial, the Court also

   2   GRANTS a new trial to determine damages.

   3           B.     Royalty Rate

   4           Microsoft contends that there was insufficient evidence for the 0.5% royalty rate

   5   utilized by the jury in the damage award. Since, as explained herein, the base used in the

   6   reasonable royalty calculation must be reconsidered, this will likely influence selection and

   7   therefore require reconsideration of the royalty rate. However, the Court considers some of

   8   the issues pertaining specifically to the royalty rate here.

   9           Under Georgia Pacific, a hypothetical negotiation may consider royalties received

  10   for the patents in suit and licenses for comparable technologies. Georgia-Pacific Corp. v.

  11   U.S. Plywood Corp., 318 F. Supp. 1116, 1120 (D.C.N.Y. 1970). The parties presented

  12   differing perspectives on these factors. Lucent focused on a single license it had made for

  13   the ‘457 and ‘080 patents, the knowledge of its licensing expert obtained from his

  14   experiences licensing IBM’s hardware technology and a single royalty-bearing agreement

  15   made by Microsoft. Microsoft’s evidence concentrated on recent licenses it had made with

  16   SISVEL (Societa Italiana Per Lo Sviluppo Dell Electtronica) for MP3 technology,

  17   Microsoft’s agreements with Fraunhofer for the HQ and fast encoder software and

  18   Microsoft’s agreements with other companies exchanging other software technologies.

  19   Each perspective had its strengths and weaknesses, and yet, the overall result offered the

  20   jury very little guidance in setting a royalty rate applicable to the technology and parties at

  21   hand.

  22           With regard to Lucent’s license of the technologies in suit here, it had only a single

  23   example of a royalty-based license (PX 1532; Trial Tr. vol. IV, 161:1-162:8, 163:8-14, Feb.

  24   1, 2007) and this was made on a scale far smaller than would be relevant here.20 See

  25
               20
                Lucent's expert Roger Smith testified that although the patents in suit had been licensed to
  26   a number of players in the industry (e.g., IBM, HP, Sony), these licenses were all broad cross licenses
       from which it was difficult to discern the value of the instant patents. (Trial Tr. vol. IV,159:20 -
  27   160:25, Feb. 1, 2007.) The single license example (the Nel-Tech license), although offering a 1%
  28                                                     35
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   1   Unisplay, S.A. v. American Electronic Sign Co., Inc., 69 F.3d 512, 519 (Fed. Cir. 1995)

   2   (evidence of licensing proposals and agreements probative but insufficient because the

   3   scale of the license was not comparable). Lucent’s expert Roger Smith testified that

   4   Lucent’s “best licensing practices” document specified a 1-5% royalty rate assessed on the

   5   product sold. (Trial Tr. vol. IV,155:20-156:9, Feb. 1, 2007.) He also testified about

   6   internal Lucent documents which indicated that Lucent intended to license its MPEG and

   7   audio standard patents at 0.5%. (Id. at 156:22 - 157:4, 157:25-158:19.) Whether these

   8   rates were ever implemented and could be considered an established rate was not apparent

   9   from the record. See Trell v. Marlee Electronics Corp., 912 F.2d 1443, 1446 (Fed. Cir.

  10   1990) (“for a royalty to be established, it must be paid by such a number of persons as to

  11   indicate a general acquiescence in its reasonableness by those who have occasion to use the

  12   invention”); Hanson v. Alpine Valley Ski Area, Inc., 718 F.2d 1075, 1078 (Fed. Cir. 1983)

  13   (“mere offers to license” without actual consummated licenses are insufficient to show an

  14   “established” royalty rate for the technology).

  15          Smith also testified that 1% royalty to use IBM’s products was the norm in the

  16   computer industry. However, such licenses (see e.g., PX1560) were hardware licenses, not

  17   licenses for software or features of software comparable to the products in suit. Other than

  18   IBM’s hardware licenses, Smith referred to the industry norm set out in an article (PX

  19   1505), but again this was a survey of royalties for computer hardware; the article did not

  20   address the software industry, let alone any connection to the MP3 technology at hand here.

  21   Smith did not explain why the same royalty rate would apply in licensing the technology at

  22   suit here.

  23
       royalty on MP3 products incorporating the instant patents, generated only $1450 in its first quarter.
  24   (Id. at 163:6-14.) Moreover, this license was entered into between Lucent and NelTech in 2005, two
       years after the initiation of the instant suit (Trial Tr. vol. V, 26:19-27:1, Feb. 2, 2007.) The date of
  25   the hypothetical negotiation is set just before the infringement began. Panduit Corp. v. Stahlin Bros.
       Fibre Works, Inc., 575 F.2d 1152, 1158 (Fed. Cir. 1978). Lucent’s expert asserted that his calculations
  26   were based on a hypothetical negotiations date of 1988 (Trial Tr. vol. IV, 150:2-5, Feb. 1, 2007);
       although he claimed that if Microsoft’s model of a date at 1997 or 2004 was used, his calculations
  27   would not change. (Id. at 150:6-19)
  28                                                     36
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   1          Lucent also had a single example of royalty rate based agreements between

   2   Microsoft and another company; the Microsoft-Stac agreement was offered by Smith as an

   3   example of a 1-2% royalty-bearing agreement. (Id. at 174:2-9; PX1534.) Most of

   4   Microsoft’s agreements were for lump sum payments (see e.g., Trial Tr. vol. IV, 170:11-20,

   5   172:5-11, and 172:3-7, Feb. 1, 2007) and were categorized by Smith as software licenses

   6   with narrower rights than a patent license (id. at 168:16-169:13).

   7          Microsoft, on the other hand, brought forward two sets of agreements related to MP3

   8   technology. One set was composed of two agreements executed between Microsoft and

   9   Fraunhofer for the very software code at issue in the infringement here. Microsoft paid a

  10   total of $16 million. (PX34, PX36.) These agreements were criticized by Lucent’s expert

  11   as software agreements with only the minimum patent rights necessary to use the licensed

  12   code. (Trial Tr. vol. V, 6:23-7:16, Feb. 2, 2007.) The agreements did not grant any rights to

  13   use Fraunhofer’s patents for technologies divorced from the source and object code

  14   provided with the license. The hypothetical negotiation here was not necessarily limited to

  15   a patent license for only specific software code. See Trell v. Marlee Electronics Corp., 912

  16   F.2d 1443, 1447 (Fed. Cir. 1990) (“A particular fee is not the correct measure of damages

  17   unless that which is provided by the patentee to its licensees for that fee is commensurate

  18   with that which the defendant has appropriated.” (quoting Bandag, Inc. v. Gerrard Tire Co.,

  19   Inc., 704 F.2d 1578, 1582 (Fed. Cir.1983))).

  20          The second agreement was between Microsoft, Audi MPEG and SISVEL (Societa

  21   Italiana Per Lo Sviluppo Dell Electtronica) concerning rights to a group of patents for audio

  22   coding. (DX 6715.) The royalty was $0.30 per software copy with a maximum of $5.625

  23   million payment. (Id. § 4.02.) The relevance of this agreement to the hypothetical

  24   negotiation is questionable, as the SISVEL agreement was executed in November 2006,

  25   only a few months before the commencement of the instant trial. See Panduit Corp. v.

  26   Stahlin Bros. Fibre Works, Inc., 575 F.2d 1152, 1158 (Fed. Cir.1978) (the hypothetical

  27   negotiation is set just before the date of infringement).

  28                                                  37
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   1          In sum, it is not so much that the jury lacked any evidence on which to base a

   2   reasonable royalty rate, but that the evidence provided limited guidance. The Court cannot

   3   definitively conclude that there was insufficient evidence on which a reasonable jury could

   4   have reached the 0.5% royalty rate stated in the verdict form and as such Microsoft’s

   5   motion for judgment as a matter of law on this ground is DENIED. However, the Court

   6   GRANTS Microsoft’s motion for a new trial. The Court finds that the jury’s verdict was

   7   against the clear weight of the evidence; although a plethora of licensing agreements were

   8   admitted into evidence, the majority of these which advocated a royalty rate in the 0.5%

   9   range lacked sufficient relevance to the technology at issue here, the relevant date of the

  10   hypothetical negotiation and/or the scope of a license that would be negotiated between

  11   these parties. Moreover, since the royalty base must be redetermined, the royalty rate

  12   dependent thereon also should be reconsidered.

  13          C.     Inconsistency of the Verdict

  14          The jury awarded $769 million for infringement on each patent. According to the

  15   Special Verdict Form, it used a 0.5% royalty rate. Microsoft argues that the jury verdict is

  16   inconsistent with the evidence presented at trial: If the average selling price of the

  17   computer is $1128 (see PX3134), a 0.5% royalty would yield $5.64 per computer. Applied

  18   to the 130.5 million units sold with the HQ encoder, the total should be approximately $736

  19   million for the ‘457 patent; applied to the 272 million infringing units for the ‘080 patent.

  20   yields $1.53 billion for this patent. (See DX6099.) Adding the damages for the two patents

  21   could have yielded a jury verdict of $2.269 billion.

  22          The jury was not required to report on the verdict form the number of infringing

  23   units it took into consideration in its calculations. Moreover, whether the jury followed

  24   Microsoft’s logic or chose to arrive at a reasonable royalty based on other factors and/or

  25   adjustments to this simple calculation is unknown. A plethora of payments and sums

  26   related to other licenses was in evidence in addition to the summary slides of the parties’

  27   damages models. Absent a view into the “black-box” of the jury’s decision making

  28                                                 38
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   1   process, the Court cannot say that the jury’s verdict was inconsistent or without the support

   2   of sufficient evidence. Moreover, while it might be permissible in some circumstances to

   3   rationalize the damages verdict such that adjustments by the Court could be made, the other

   4   issues affecting the damages verdict here make this consideration moot. Therefore, the

   5   Court DENIES Microsoft’s motions for judgment as a matter of law and for a new trial on

   6   this ground.

   7          D.      Impact of the Supreme Court’s Ruling in Microsoft Corp. v. AT & T
                      Corp.
   8
              Microsoft argues that the $1.53 billion damages includes foreign sales which is
   9
       inconsistent with the very recent decision in Microsoft Corp. v. AT & T Corp., 127 S. Ct.
  10
       1746, 1750 (2007), regarding the inapplicability of § 271(f) to software sent overseas on a
  11
       master disc (or electronically) for reproduction and sale because foreign sales of Windows
  12
       Media Player were included in the damages verdict here.
  13
              In AT&T, the Supreme Court held that “a copy of Windows, not Windows in the
  14
       abstract, qualifies as a ‘component’ under § 271(f).” Id. at 1756. It also held that
  15
       “components” under § 271(f) did not include copies of software installed on computers
  16
       where the copies themselves were not supplied from the United States. Id. at 1757.
  17
              In the instant case, the Special Verdict Form did not separately list damages for U.S.
  18
       and foreign sales. Additionally problematic, the damages covered infringement of both
  19
       apparatus and methods claims of the ‘457 and ‘080 patents.21 AT&T expressly limited its
  20
       holding to apparatus claims:
  21
              We need not address whether software in the abstract, or any other intangible, can
  22          ever be a component under § 271(f). If an intangible method or process, for instance,
              qualifies as a “patented invention” under § 271(f) (a question as to which we express
  23          no opinion), the combinable components of that invention might be intangible as
              well. The invention before us, however, AT & T's speech-processing computer, is a
  24          tangible thing.

  25
  26
              21
                The ‘457 patent and the ‘080 patent each had three claims at issue; of the total six claims,
  27   four were methods claims.
  28                                                    39
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   1   Id. at 1756 n.13. Even if this Court declines to consider here whether AT&T should be

   2   extended to apply to the methods claims and applies the holding to the apparatus claims, the

   3   problem is not solved. The lack of transparency as to how the jury arrived at the numbers

   4   for its damages verdict makes any attempt at “subtracting out” foreign sales nearly

   5   impossible. Moreover, the parties have not pointed to any evidence that separated damages

   6   calculated for infringing methods claims versus apparatus claims of the patents. Hence, the

   7   Court has no guidance as to how even the damages for the foreign sales related to only

   8   apparatus claims could be removed.

   9          The Court, however, need not and does not address this mountain of difficulties

  10   given the insufficient evidence to support the damages verdict as it stands now, i.e., the

  11   inapplicability of the entire market value rule to the computer as the royalty base. Once the

  12   reasonable royalty base and rate are properly addressed, these remaining challenges can be

  13   rectified in the presentation of the evidence, jury instructions and a new verdict form in the

  14   new trial. The Court therefore defers the consideration on the impact of AT&T on the

  15   damages award until such time. Therefore, Microsoft’s motions for judgment as a matter of

  16   law and for a new trial on this issue are DENIED AS MOOT.

  17          E.     Passion and Prejudice

  18          Microsoft next argues that the $1.53 billion damages award was driven by the jury’s

  19   passion and prejudice against Microsoft as a high earning large company. Microsoft points

  20   to statements made by Lucent in its closing argument referring to Microsoft’s “80% plus

  21   profit” and references to revenue from computer sales of $38-$61 billion (when Microsoft

  22   did not even sell the computers). Microsoft also argues that the inclusion of foreign sales

  23   interjected prejudice into the damages calculation. It contends that Lucent’s argument to

  24   the jury that Microsoft distributed millions of copies of the software around the world and

  25   made billions of dollars biased the jury and improperly inflated considerations under

  26
  27
  28                                                 40
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   1   Georgia Pacific.22

   2          Microsoft’s contentions are pure speculation. Other than isolated statements made

   3   in Lucent’s opening and closing statements, there is no evidence that would suggest that the

   4   verdict was inflated by passion or prejudice. Simply the large number of units sold, the

   5   lack of royalty evidence other than something in the 0.5-1% range, and the use of the

   6   computer as the base price provides a possible reasoning for the jury’s damages verdict.

   7   The Court cannot say that passion and prejudice necessarily played any role in reaching the

   8   amount of damages, rather than the jury’s simple acceptance of Lucent’s sums at face-

   9   value. On this ground, Microsoft’s motion for a new trial is DENIED.

  10   VIII. CONCLUSION

  11          For the reasons herein, the Court rules as follows on Microsoft’s grounds for

  12   judgment as a matter of law and/or new trial:

  13   Liability on the ‘457 Patent

  14          No direct infringement                            GRANTED judgment as a matter of law
                                                                Alternatively, GRANTED new trial
  15
              No indirect infringement                          GRANTED judgment as a matter of law
  16                                                            Alternatively, GRANTED new trial

  17   Ownership of the ‘080 Patent

  18          Claims 2 and 4 are New Work                       GRANTED judgment as a matter of law
                                                                Alternatively, GRANTED new trial
  19
              Fraunhofer is a co-owner                          GRANTED judgment as a matter of law
  20          of the ‘080 patent                                Alternatively, GRANTED new trial

  21          Lucent lacks standing                             GRANTED judgment as a matter of law
                                                                Alternatively, GRANTED new trial
  22
              Microsoft’s license defense                       GRANTED judgment as a matter of law
  23                                                            Alternatively, GRANTED new trial

  24
  25
  26
  27          22
                   The record does not indicate that Microsoft objected to any of these statements during trial.
  28                                                       41
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   1   Liability on the ‘080 Patent

   2          Incorrect claim construction               DENIED as to new trial*23

   3          No direct infringement                     DENIED as to judgment as a matter of law
                                                         and new trial
   4
              No contributory infringement               DENIED as to judgment as a matter of law
   5                                                     and new trial

   6          No inducing Infringement                   GRANTED judgment as a matter of law
                                                         Alternatively, GRANTED new trial
   7
       Invalidity
   8
              Obviousness -Impact of KSR                 DENIED as to judgment as a matter of law
   9                                                     and new trial

  10          Anticipation - OCF paper                   DENIED as to judgment as a matter of law
                                                         and new trial
  11
              Anticipation - low bit rate paper          DENIED as to judgment as a matter of law
  12                                                     and new trial

  13          Exclusion of Johnston’s testimony          DENIED as to new trial*

  14          Exclusion of deposition testimony          DENIED as to new trial*
              of Restaino and deVilliers
  15
  16   Damages

  17          Royalty base - entire market value         GRANTED judgment as a matter of law,
                                                         GRANTED new trial
  18
              Royalty rate                               DENIED as to judgment as a matter of
  19                                                     law, GRANTED new trial

  20          Inconsistent verdict                       DENIED as to judgment as a matter of law
                                                         and new trial
  21
              Impact of AT&T                             DENIED AS MOOT
  22
              Passion/prejudice                          DENIED as to new trial*
  23
  24   //
       //
  25
  26
              23
               Microsoft moved only for new trial and not judgment as a matter of law on those issues
  27   marked with an asterisk (*).
  28                                                42
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   1          The net result of the rulings above results in a judgment under Fed. R. Civ. P. 54(b)

   2   in favor of Microsoft and against Lucent with costs to Microsoft, terminating the case as it

   3   pertains to these two patents, U.S. Patent Nos. 5,341,457 and RE 39,080..

   4          In light of these rulings, Lucent’s motion to amend or alter the judgement under Fed.

   5   R. Civ. P. 59(e) regarding supplemental damages, prejudgment and post judgment interest,

   6   and a permanent injunction is DENIED AS MOOT since Lucent is no longer the

   7   prevailing party.

   8
   9          IT IS SO ORDERED.

  10
  11   DATED: August 6, 2007

  12
  13                                               Hon. Rudi M. Brewster
                                                   United States Senior District Court Judge
  14
  15
       cc: Hon. Cathy Ann Bencivengo
  16       United States Magistrate Judge

  17      All Counsel of Record

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